                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:09-CR-067-FDW-DCK

 UNITED STATES OF AMERICA,                             )
                                                       )
                 Plaintiff,                            )
                                                       )
     v.                                                )      WRIT OF EXECUTION
                                                       )
 HARRIET P. JINWRIGHT,                                 )
                                                       )
                 Defendant.                            )
                                                       )

TO NC DEPARTMENT OF STATE TREASURER:

          A Judgment was entered on December 15, 2010 (Document No. 132) in the United States

District Court for the Western District of North Carolina, in favor of the United States of America

and against Defendant Harriet Jinwright, whose last known address is XXXXXXX, Huntersville,

NC XXXXX, in the sum of $1,279,856.00. The balance on the account as of March 23, 2021, is

$1,136,045.51.

          THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on

property and North Carolina Department of State Treasurer is commanded to turn over property,

in a timely manner and no later than ninety (90) days after the date of the issuance of this Writ of

Execution, in which the Defendant, Harriet Jinwright, Social Security number XXX-XX-3069, has

a substantial nonexempt interest, the property being any and all unclaimed property, including but

limited to property identification numbers XXXX6264, XXXX9030, XXXX3445, XXXX3446,

XXXX3447, XXXX3448 and XXXX3449, held by the Unclaimed Property Division for North

Carolina Department of State Treasurer, in the name of Harriett Jinwright, at the following address:

                                NC Department of State Treasurer
                                 Unclaimed Property Division
                                    3200 Atlantic Avenue
                                     Raleigh NC, 27604

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       YOU ARE FURTHER COMMANDED to turn over the net proceeds of the levied

property to the United States Clerk of Court. The payment should be mailed to:

                                  United States District Court
                                    401 West Trade Street
                                Charlotte, North Carolina 28202

       In order to ensure that the payment is credited properly, the following information should

be included on the check: Court Number DNCW3:09CR67-2.

       YOU ARE FURTHER COMMANDED that the levy shall not exceed property

reasonably equivalent in value to the balance on the account, $1,285,056.00.


                                    Signed: March 25, 2021




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                      CLAIM FOR EXEMPTION FORM
           MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. § 3613)

_____1.      Wearing apparel and school books.--Such items of wearing apparel and such school
             books as are necessary for the debtor or for members of his family.

_____2.      Fuel, provisions, furniture, and personal effects.--So much of the fuel, provisions,
             furniture, and personal effects in the Debtor’s household, and of the arms for
             personal use, livestock, and poultry of the debtor, as does not exceed $9,790 in
             value.

_____3.      Books and tools of a trade, business, or profession.--So many of the books, and
             tools necessary for the trade, business, or profession of the debtor as do not exceed
             in the aggregate $4,890 in value.

_____4.      Unemployment benefits.--Any amount payable to an individual with respect to his
             unemployment (including any portion thereof payable with respect to dependents)
             under an unemployment compensation law of the United States, of any State, or of
             the District of Columbia or of the Commonwealth of Puerto Rico.

_____5.      Undelivered mail.--Mail, addressed to any person, which has not been delivered to
             the addressee.

_____6.      Certain annuity and pension payments.--Annuity or pension payments under the
             Railroad Retirement Act, benefits under the Railroad Unemployment Insurance
             Act, special pension payments received by a person whose name has been entered
             on the Army, Navy, Air Force, and Coast Guard Medal of Honor roll (38 U.S.C.
             1562), and annuities based on retired or retainer pay under Chapter 73 of Title 10
             of United States Code.

_____7.      Workmen’s Compensation.--Any amount payable with respect to compensation
             (including any portion thereof payable with respect to dependents) under a
             workmen’s compensation law of the United States, any State, the District of
             Columbia, or the Commonwealth of Puerto Rico.

_____8.      Judgments for support of minor children.--If the debtor is required by judgment of
             a court of competent jurisdiction, entered prior to the date of levy, to contribute to
             the support of his minor children, so much of his salary, wages, or other income as
             is necessary to comply with such judgment.

_____9.      Certain service-connected disability payments.-- Any amount payable to an
             individual as a service-connected (within the meaning of section 101(16) of Title
             38, United States Code) disability benefit under--(A) subchapter II, III,IV, V, or VI
             of Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34, 35,37, or 39 of
             such Title 38.

_____10.     Assistance under Job Training Partnership Act.
             --Any amount payable to a participant under the Job Training Partnership Act (29
             U.S.C. 1501 et seq.) from funds appropriated pursuant to such Act.


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The statements made in this claim of settlement to exemptions and request for hearing as to
exemption entitlement and fair market value of the property or funds designated are made and
declared under penalty of perjury that they are true and correct.

       I hereby request a Court hearing to decide the validity of my claims. Notice of the hearing
should be given to me by mail at:


_______________________________________________________________
Address


or telephonically at (______)_____________
                      Phone No.


____________________________________
Defendant’s printed or typed name


____________________________________
Signature of Defendant  Date




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